AO 9] (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

United States of America )
Vv. )
) caene Ts 2 | prs (\ 7
JORGE OMAR NAVARRO ~
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of = = =~ ‘March 31, 2021 in the county of Durham ——ssiintthe
Middle District of North Carolina , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 841(a)(1) Possession with Intent to Distribute Cocaine
18 U.S.C. § 924(c)(1)(A)(i) Possession of a Firearm in Furtherance of a Drug Trafficking Offense

This criminal complaint is based on these facts:

See attached affidavit

# Continued on the attached sheet.

/s/Thomas Thrall

Complainant's signature

 

 

On this day, the applicant appeared before me via reliable
electronic means, that is by telephone, was placed under Thomas Thrall, ATF Task Force Officer
oath, and attested to the contents of this Criminal —Drinted nameandiitle
Complaint and attached affidavit in accordance with the

requirements of Fed. R. Crim. P. 4.1.

   

Date: 04/01/2021 a
Judge's signature

City and state: Greensboro, North Carolina - L Patrick Auld, U.S. Magistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Thomas Thrall, Task Force Officer, with the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF), being duly sworn, depose and state
as follows:

INTRODUCTION

1. On March 31, 2021, the Durham Police Department began an
investigation into the drug activity of Jorge Omar NAVARRO, also known as
Antonio Gomez Gutierrez, Cesar Morales Guerrero, and Juan Diego Martinez.
This Affidavit is submitted in support of an Application for an arrest warrant,
based upon a Criminal Complaint, for Jorge Omar NAVARRO for Possession
with Intent to Distribute Cocaine, a Schedule II controlled substance within
the meaning of 21 U.S.C § 812, in violation of 21 U.S.C. § 841(a)(1) and
Possession of a Firearm in Furtherance of a Drug Trafficking Offense in
violation of 18 U.S.C. § 924(c)(1)(A)().

2, I make this Affidavit based on information provided to me by
investigators with the Durham Police Department.

3. The information contained in this Affidavit is submitted for the
sole purpose of establishing probable cause for the issuance of an arrest

warrant for Jorge Omar NAVARRO. As a result, this Affidavit does not contain

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every fact known to me concerning this investigation.

AFFIANT BACKGROUND

 

4. I am a Task Force Officer with ATF and am currently assigned to
the ATF Charlotte Field Division, Raleigh Resident Office. I am also a sworn
law enforcement officer with the City of Durham Police Department and have
been for over 18 years. Prior to being assigned as a Task Force Officer with
ATF, I was assigned to the Durham Police Department’s Vice-Narcotics Unit,
Drug Interdiction Unit, HEAT team, Gang Resistance Unit, and Uniform
Patrol Division.

5. I have completed the Police Law Institute training course on
arrest, search, and seizure and have attended numerous training classes for
controlled substance investigations. I have earned and received my Basic Law
Enforcement Certification, my Intermediate Law Enforcement Certification,
and my Advanced Law Enforcement Certification from the North Carolina
Training and Standards Division. When assigned to the Uniform Patrol
Division I was a certified Field Training Officer. I am certified by the State of
North Carolina Training and Standards as a General Instructor with
specialized certifications in Physical fitness, Driving and Rapid Deployment. I

have led and taught classes in these subjects as well as Controlled Substances

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and Traffic Stops

6. I have drafted or assisted in drafting more than 400 search
warrants. I have conducted or assisted in numerous criminal investigations to
include investigations for gambling, prostitution, fraud, forgery, larceny,
assaults (simple and serious), murder, firearms or weapons, and controlled
substances. I am familiar with the customary practices, procedures, tactics,
and terminology used by persons engaged in the business of manufacturing,
selling, and distributing controlled substances Durham, North Carolina.

FACTS ESTABLISHING PROBABLE CAUSE

7. On the morning of March 31, 2021, Durham Police Department
officers responded to an apartment at 215 William Penn Plaza to investigate a
disturbance and the sound of gunshots. Upon arrival, officers observed blood
and three spent ammunition cartridges near the apartment. When officers
knocked on the door a man answered and the officers saw a second man, Jorge
Omar NAVARRO, inside the apartment. NAVARRO was covered in blood and
fled. As he did, he threw money over a railing. Officers pursued and stopped
NAVARRO. NAVARRO was transported to the hospital for treatment.

8. Officers performed a safety sweep of the apartment to determine

whether there were other injured people. While doing so, they saw a handgun

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in the living room. In the master bedroom, they saw a firearm protruding from
beneath a bed and an open safe inside of an open dresser. There were fresh
blood stains on the wall next to the dresser. In another room, used as a home
gym, officers saw two assault-style rifles. One of the rifles appeared to have a
suppresser attached to the barrel.

ag, Investigators spoke with NAVARRO at the hospital. NAVARRO
explained that two men came to the apartment and said that they were there
to replace carbon monoxide sensors. NAVARRO escorted the men to the master
bedroom. The men then drew guns and demanded money. NAVARRO reported
that he was struck in the head with a gun and tied up with a cord.

10. Investigators obtained a warrant to search the apartment. During
the search, they recovered a total of approximately 4,703 grams of cocaine. A
field test on a small portion returned a positive result for cocaine. In the master
bedroom, investigators found the following items:

e cocaine packaged in multiple kilograms inside a black duffle bag in a
closet;

e asmall vacuum sealed bag of cocaine on the floor near the wall that was
splattered with fresh blood stains;

e multiple identification cards with NAVARRO’s picture and several
variations of names and dates of birth; and

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e two firearms.

11. In the room used as a home gym, investigators found
approximately 1,263 grams of marihuana, a ballistic vest, and an electronic
money counter inside a closet.

12. In a second bedroom, investigators found tens of thousands of
dollars in cash and a handgun on a bed under a blanket. They also found an
electronic money counter under the bed and multiple identification cards
belonging to the individual who originally answered the door when police
knocked.

13. During the search of the apartment, investigators also recovered a
vacuum sealer and corresponding vacuum bags, as well as discarded wrapping
that matched the wrapping of the kilogram-packaged cocaine.

14. After being released from the hospital NAVARRO was escorted to
the Durham Police Department and advised of his Miranda rights. He agreed
to speak with investigators. NAVARRO said that he resided at the apartment
and lived by himself. He identified the master bedroom as his. Further, he said
that everything in the apartment belonged to him and explained that he had
been subletting the apartment for several months.

15. NAVARRO said that he sold marihuana and had been doing so for

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several years. He estimated that he had sold one to two pounds a week for the
past six years. NAVARRO explained that he had guns in the apartment for his
protection because he sold drugs. NAVARRO said that he owned a 9mm
Berretta pistol and a 12-gauge shotgun that he bought off the street.

16. NAVARRO claimed that the men who robbed him brought the
black bag that contained the multiple kilograms of cocaine into the apartment
at the time of the robbery. He said that the men robbed him and left the bag in
his bedroom. He said that he then moved the bag into his closet. NAVARRO
said that he has been using various names and dates of birth because he
believes he is wanted in Mexico for cocaine trafficking. Initially, NAVARRO

identified himself to investigators as Juan Martinez.

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CONCLUSION
17. Based upon the facts set out herein, I respectfully submit that
there is probable cause to believe that Jorge Omar NAVARRO Possessed with
Intent to Distribute Cocaine, a Schedule II controlled substance within the

meaning of 21 U.S.C § 812, in violation of 21 U.S.C. § 841(a)(1).

Respectfully submitted,

/s/Thomas Thrall
Thomas Thrall, Task Force Officer
Bureau of Alcohol, Tobacco, Firearms and Explosives

Dated: April 1, 2021

Pursuant to Rule 4.1 of the Federal Rules of Criminal Procedure, the affiant
appeared before me via reliable electronic means (telephone), was placed under
oath, and attested to the contents of this written affidavit.

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[\Patrick Auld >
United States Magistrate Judge

Middle District of North Carolina

 
   

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